Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 1 of 26 Page ID #:216




  1   Aaron D. Aftergood (239853)
        aaron@aftergoodesq.com
  2   THE AFTERGOOD LAW FIRM
      1880 Century Park East, Suite 200
  3   Los Angeles, CA 90067
      Telephone: (310) 550-5221
  4   Facsimile: (310) 496-2840
  5   Taylor T. Smith (admitted pro hac vice)
        tsmith@woodrowpeluso.com
  6   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
  7   Denver, Colorado 80210
      Telephone: (720) 213-0675
  8   Facsimile: (303) 927-0809
  9   Attorneys for Plaintiff and the Classes
 10
                               UNITED STATES DISTRICT COURT
 11                           CENTRAL DISTRICT OF CALIFORNIA
 12                                 WESTERN DIVISION

 13   Bryce Abbink, individually and on
 14   behalf of all others similarly situated,                Case No. 8:19-cv-01257-JFW-PJW

 15                                     Plaintiff,               PLAINTIFF’S RESPONSE IN
 16
                                                                 OPPOSITION TO DEFENDANT
      v.                                                         EXPERIAN INFORMATION
 17                                                              SOLUTIONS, INC.’S MOTION
 18   Experian Information Solutions, Inc.,                      TO DISMISS PLAINTIFF’S
      an Ohio corporation, Lend Tech                             COMPLAINT
 19   Loans, Inc., a California corporation,
 20   and Unified Document Services, LLC,                        Date: September 16, 2019
      a California Limited Liability                             Time: 1:30 p.m.
 21                                                              Judge: Hon. John F. Walter
      Company,
 22                              Defendants.                     Courtroom: 7A
                                                                 Complaint Filed: June 21, 2019
 23

 24

 25
 26

 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                           -i-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 2 of 26 Page ID #:217




  1                                             TABLE OF CONTENTS
  2   TABLE OF AUTHORITIES .................................................................................... iv
  3   I.       Introduction ..................................................................................................... 1
  4   II.      Factual & Procedural Background .................................................................. 3
  5            A.       The FCRA allows for prescreened credit offers. .................................. 3
  6            B.       Experian sold a report about Abbink to Lend Tech. ............................. 4
  7   III.     Argument ......................................................................................................... 6
  8            A.       Experian first plausibly violated the FCRA by furnishing consumer
  9                     reports about Plaintiff and others based solely on Lend Tech’s
 10                     certification that it would use the information to extend firm offers of
 11                     credit. .................................................................................................... 7
 12                     1.        Experian has liability under the FCRA for relying solely on
 13                               Lend Tech’s representation that it had a permissible purpose to
 14                               obtain the report. ........................................................................ 7
 15                     2.        Experian also violated the FCRA by failing to implement
 16                               reasonable procedures designed to ensure that it only discloses
 17                               reports for permissible purposes. ............................................... 9
 18                     3.        Experian also acted willfully and with reckless disregard to its
 19                               statutory duty. ........................................................................... 13
 20            B.       Plaintiff’s allegations that Experian disclosed his federal student loan
 21                     debt also plausibly state a claim for a willful violation of Section
 22                     1681b(c)(2). ......................................................................................... 14
 23                     1.        Experian violated the FCRA’s bar against identifying the
 24                               relationship of a consumer to a creditor or other entity. .......... 15
 25                     2.        Experian acted in reckless disregard of its duties under Section
 26                               1681b(c)(2). .............................................................................. 17
 27

 28
             Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                                  - ii -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 3 of 26 Page ID #:218




  1           C.       To the extent the Court determines that Plaintiff failed to allege
  2                    adequate facts, the Court should grant Plaintiff leave to amend. ....... 19
  3   IV.     Conclusion ..................................................................................................... 19
  4

  5

  6

  7

  8
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25
 26

 27

 28
            Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                                - iii -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 4 of 26 Page ID #:219




  1                                        TABLE OF AUTHORITIES
  2   Aleksic v. Experian Information Solutions, Inc., No. 13 C 7802, 2014 WL 2769122
  3                    (N.D. Ill. June 18, 2014) ..................................................................... 10
  4   Ashcroft v. Iqbal, 556 U.S. 662 (2009) ...................................................................... 6
  5   Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2008)............................................... 6
  6   Chavez v. Premier Bankcard, LLC, No. 1:11-cv-01101 LJO GSA, 2011 WL
  7                    5417107 (E.D. Cal. Nov. 8, 2011) ........................................................ 4
  8   Cortez v. Trans Union, LLC, 617 F.3d 688 (3d Cir. 2010) ..................................... 18
  9   Dalton v. Capital Associated Industries, Inc., 257 F.3d 409 (4th Cir. 2001) ......... 12
 10   Edwards v. Toys “R” Us, 527 F.Supp.2d 1197 (C.D. Cal. 2007) ........................... 14
 11   Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048 (9th Cir. 2003) ................ 19
 12   Federal Trade Commission v. Alliance Document Preparation, 296 F.Supp.3d 1197
 13                    (C.D. Cal. 2017) .................................................................................. 16
 14   Feist v. Petco Animal Supplies, Inc., 218 F.Supp.3d 1112 (S.D. Cal. 2016) .......... 18
 15   Harris v. Database Management & Marketing, Inc., 609 F.Supp.2d 509
 16                    (D. Md. 2009) ...................................................................................... 10
 17   Holley v. Crank, 400 F.3d 667 (9th Cir. 2005) ........................................................ 11
 18   In re Edwards, 561 B.R. 848 (D. Kan. 2016) .......................................................... 19
 19   In re Halling, 449 B.R. 911 (W.D. Wis. 2011) ....................................................... 17
 20   In re Trans Union Corp. Privacy Litigation, 211 F.R.D. 328
 21                    (N.D. Ill. 2002) ................................................................................ 3, 15
 22   Kennedy v. Chase Manhattan Bank USA, NA, 369 F.3d 833 (5th Cir. 2004) ........... 4
 23   Morongo Band of Mission Indians v. Rose, 893 F.2d 1074 (9th Cir. 1990) ........... 19
 24   Pasternak v. Trans Union LLC, No. C 07-04980 CW, No. C 08-02972 CW, 2008
 25                    WL 11388680 (N.D. Cal. Dec. 19, 2008) ........................................... 12
 26   Pennsylvania v. Navient Corporation, 354 F.Supp.3d 529 (M.D. Pa. 2018) .......... 16
 27

 28
            Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                              - iv -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 5 of 26 Page ID #:220




  1   Pintos v. Pacific Creditors Ass’n., 605 F.3d 665 (9th Cir. 2010) ............................. 8
  2   Robins v. Spokeo, Inc., 867 F.3d 1108 (2017) ........................................................... 3
  3   Robrinzine v. Big Lots Stores, Inc., 156 F.Supp.3d 920 (N.D. Ill. 2016) ................ 13
  4   Rose v. Seamless Financial Corp. Inc., 916 F.Supp.2d 1160 (S.D. Cal. 2013) ...... 11
  5   Safeco Ins. Co. of America v. Burr, 551 U.S. 47 (2007) ................................... 13, 17
  6   Singleton v. Domino’s Pizza, LLC, Civil Action No. DKC 11-1823, 2012 WL
  7                      245965 (D. Md. Jan. 25, 2012) ..................................................... 13, 18
  8   Syed v. M-I, LLC, 853 F.3d 492 (9th Cir. 2017) ...................................................... 18
  9   Wilson v. Sessoms, Civil No. 4:96CV01031, 1998 WL 35305548
 10                      (M.D.N.C. Mar. 16, 1998) .................................................................. 10
 11

 12   STATUTES & AUTHORITY
 13   Cal. Bus. & Prof. Code § 10006 .............................................................................. 11
 14   Cal. Bus. & Prof. Code § 10130 .............................................................................. 11
 15   15 U.S.C. § 1681b, et seq. .............................................................................................. passim
 16   15 U.S.C. 1681e(a) ........................................................................................... passim
 17   40 Years of Experience with the Fair Credit Reporting Act (“FTC Report”) ........... 9
 18

 19
 20

 21

 22

 23

 24

 25
 26

 27

 28
             Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                                   -v-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 6 of 26 Page ID #:221




  1   I.     Introduction
  2          Defendant Experian Information Solutions, Inc. (“Defendant” or “Experian”)
  3   sells consumer reports to Defendant Lend Tech Loans, Inc. (“Lend Tech”) based on
  4   nothing more than Lend Tech’s certification that it has a permissible purpose for
  5   obtaining the reports: to supposedly extend a firm offers of credit. This is a
  6   misstep—Lend Tech has no such purpose; rather, it obtains the reports from
  7   Experian simply to resell them to co-Defendant Unified Document Services, LLC
  8   (“UDS”) so that UDS can market its (disturbingly) overpriced document
  9   completion services more efficiently. Indeed, in Plaintiff Bryce Abbink’s
 10   (“Plaintiff” or “Abbink”) case, Lend Tech ostensibly told Experian that it was going
 11   to extend him a firm offer of credit and, relying on that alone, Experian disclosed
 12   the report. Lend Tech, in turn, sold the report to UDS, who then used the
 13   information to send Abbink a highly specific advertisement for UDS’s services.
 14          For its part, Experian is liable to Abbink and others under the Fair Credit
 15   Reporting Act, 15 U.S.C. § 1681e, et seq., because, at the time of the disclosure,
 16   there were reasonable grounds to believe that the reports would be used
 17   impermissibly. There were a host of red-flags that would have alerted Experian had
 18   it bothered to investigate. As set forth in the Complaint, Lend Tech lacked a license
 19   to make loans or provide insurance, thus negating any chance Experian reasonably
 20   believed Lend Tech would use the reports to extend firm offers of credit or for some
 21   other permitted purpose (particularly where Lend Tech never indicated it was a
 22   reseller). Lend Tech also provided an outdated address and phone number. Viewed
 23   in a light most favorable to Plaintiff—and coupled with the fact that Experian
 24   allegedly failed to reasonably investigate—Experian plausibly failed to implement
 25   reasonable procedures designed to minimize the likelihood that it would release
 26   reports without a permissible purpose. See § 1681b.
 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                           -1-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 7 of 26 Page ID #:222




  1         Further, in disclosing to Lend Tech Plaintiff’s student loan debt, Experian
  2   also violated the Act’s prohibition on disclosing a consumer’s relationship to
  3   another person or entity.
  4         Experian’s arguments fall apart. First, Experian claims that Plaintiff has
  5   somehow conceded that Experian “had reason to believe it was furnishing
  6   Plaintiff’s consumer report in accordance with § 1681b(c)(1)” because the
  7   allegations of the Complaint “concede that Experian furnished Plaintiff’s consumer
  8   report based on Lend Tech’s ‘representation that it intended to use the report for the
  9   purpose of a firm offer of credit.’” (Def. Mot. at 6.) This seriously mischaracterizes
 10   the Complaint and ignores Plaintiff’s allegations that: (1) Experian wrongfully took
 11   Lend Tech’s representation at “face value” (Compl. ¶¶ 30, 57) and (2) that Experian
 12   failed to verify the identity of Lend Tech Loans and the supposed permissible
 13   purpose for which the information was being sought (Compl.¶ 52).
 14         Experian’s assertion that any violation wasn’t willful fares no better. It’s
 15   failure to investigate and “set it and forget it” approach to requests for consumer
 16   reports are objectively unreasonable given the plain language of the statute.
 17         Plaintiff’s claims under § 1681b(c)(2) also survive dismissal. Despite the
 18   FCRA’s bar against providing information in pre-screened offers of credit that
 19   identifies the relationship between the consumer and any particular creditor or other
 20   entity, Experian plainly discloses the amount of federal student loan debt to those
 21   who request it. Of course, Experian could’ve disclosed Plaintiff’s total student loan
 22   debt, which, by including the potential for private loans, would’ve prevented Lend
 23   Tech or UDS from learning the value of the Plaintiff’s federal loans.
 24         In short, the Complaint contains sufficient facts that, if proven true, would
 25   plausibly entitle Plaintiff to relief under the FCRA. As such, and notwithstanding its
 26

 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          -2-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 8 of 26 Page ID #:223




  1   strident arguments to the contrary, Experian’s Motion to Dismiss should be denied.
  2   II.     Factual & Procedural Background
  3           A.       The FCRA allows for prescreened credit offers.
  4           Briefly, the FCRA was enacted “‘to ensure fair and accurate credit reporting”
  5   and to ‘protect consumer privacy.’” Robins v. Spokeo, Inc., 867 F.3d 1108, 1113
  6   (2017) (citation omitted). The Act was “designed to ‘ensure that consumer reporting
  7   agencies exercise their grave responsibilities with fairness, impartiality, and a
  8   respect for the consumer's right to privacy.’” In re Trans Union Corp. Privacy
  9   Litigation, 211 F.R.D. 328, 335 (N.D. Ill. 2002). To safeguard private consumer
 10   information, the Act limits the circumstances in which a CRA may furnish a
 11   consumer report. See 15 U.S.C. § 1681b(a), et seq. These circumstances are
 12   commonly referred to as “permissible purposes.” The Act prohibits the furnishing
 13   consumer reports to any Person unless a CRA has a reason to believe its customer
 14   intends to use the reports for a permissible purpose. 15 U.S.C. §§ 1681b(a)(3).
 15           Before to furnishing consumer reports, the Act requires CRAs to establish
 16   and “maintain reasonable procedures designed to . . . limit the furnishing of
 17   consumer reports to the purposes listed under section 1681b.” 15 U.S.C. 1681e(a).
 18   Prospective users must “identify themselves, certify the purposes for which the
 19   information is sought, and certify that the information will be used for no other
 20   purpose.” Id. A CRA must “make a reasonable effort to verify the identity of a new
 21   prospective user and the uses certified by such prospective user prior to furnishing
 22   such user a consumer report.” Id. Further, and critically here, a CRA may not
 23   “furnish a consumer report to any person if it has reasonable grounds for believing
 24   that the consumer report will not be used for a purpose listed in section 1681b.” Id.
 25   (emphasis added).
 26           One permissible purpose allows “creditors to purchase prescreened lists of
 27

 28
            Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                            -3-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 9 of 26 Page ID #:224




  1   consumers who meet the creditor's specific criteria without the consumers’ consent
  2   as long as the purchaser intends to give the consumer a ‘firm offer of credit.’” See
  3   Chavez v. Premier Bankcard, LLC, No. 1:11-cv-01101 LJO GSA, 2011 WL
  4   5417107, at *3 (E.D. Cal. Nov. 8, 2011). As Experian acknowledges, this process is
  5   known as “prescreening.” “Creditors interested in extending firm offers of credit
  6   provide the credit reporting agency with their credit specifications and the agency
  7   generates a list of consumers who meet that criteria based on information contained
  8   in their credit reports.” Id.
  9          The Act limits what information can be provided in the context of a
 10   prescreened list, however. See 1681b(c)(2), et seq.; see also Kennedy v. Chase
 11   Manhattan Bank USA, NA, 369 F.3d 833, 840 (5th Cir. 2004) (“Consumer reporting
 12   agencies, however, are only permitted to furnish limited information for a credit
 13   transaction not initiated by the consumer.”). That information includes only: “(A)
 14   the name and address of a consumer; (B) an identifier that is not unique to the
 15   consumer and that is used by the person solely for the purpose of verifying the
 16   identity of the consumer; and (C) other information pertaining to a consumer that
 17   does not identify the relationship or experience of the consumer with respect to a
 18   particular creditor or other entity.” 15 U.S.C. § 1681b(c)(2). “To access more
 19   detailed information to determine whether the consumer meets a creditor's specific
 20   criteria bearing on credit worthiness, a creditor must obtain a consumer's
 21   authorization.” Kennedy, 369 F.3d at 841.
 22          B.       Experian sold a report about Abbink to Lend Tech.
 23          This case involves Experian’s sale of Plaintiff’s consumer report to Lend
 24   Tech absent any permissible purpose. (Compl. ¶ 2.) Experian is obviously a major
 25   consumer reporting agency. (Compl. ¶ 5.) Experian aggregates the data of millions
 26   of consumers worldwide and then sells that information to banks, credit card
 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                           -4-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 10 of 26 Page ID #:225




  1   companies, and various other companies that have a permissible purpose. (Id. ¶ 5.)
  2         Lend Tech is a California corporation that claims to engage in the business of
  3   mortgage lending. (Compl. ¶ 24.) Lend Tech does not possess any license, however,
  4   to engage in mortgage lending in the State of California. (Id. ¶ 24.) In fact, Lend
  5   Tech does not offer consumers any form of credit or insurance at all. (Id. ¶ 28.)
  6   Regardless, in or around January 2019, Lend Tech submitted a request to Experian
  7   to obtain information contained in Plaintiff’s consumer report. (Id. ¶ 26.) Lend Tech
  8   requested Plaintiff’s consumer report for the stated purpose of making a firm offer
  9   of credit. (Id. ¶ 48.) In making the request, Lend Tech provided inaccurate
 10   information, including a nonworking telephone number and a business address that
 11   does not match the current address on its California business filing. (Id. ¶ 55.)
 12         Rather than deny the request, on January 21, 2019, Experian sold Plaintiff’s
 13   consumer report to Lend Tech. (Compl. ¶ 27.) In doing so, Experian demonstrated a
 14   failure to implement reasonable procedures to prevent the furnishing of consumer
 15   reports for impermissible purposes. (Id. ¶ 29.) Specifically, Experian failed to make
 16   a reasonable effort to verify the identity of Lend Tech and the purpose that Lend
 17   Tech claimed to obtain Plaintiff’s consumer report. (Id. ¶ 29.) Instead, Experian just
 18   accepted Lend Tech’s blanket assertion that it had a permissible purpose for
 19   obtaining the consumer reports at face value and sold Plaintiff’s consumer report
 20   absent any adequate investigation. (Id. ¶¶ 7, 29.) Additionally, Experian accepted
 21   Lend Tech’s purported address and telephone number (both of which are incorrect)
 22   and published both pieces of information on Plaintiff’s consumer report. (Id. ¶ 55.)
 23         In furnishing the reports, Experian also disclosed the total sum of outstanding
 24   federal student loan debt held by Plaintiff and all of the alleged class members.
 25   (Compl. ¶ 65.) The sum of federal student loan debt directly identifies the
 26   relationship between Plaintiff and the U.S. Department of Education (“Dept. of
 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          -5-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 11 of 26 Page ID #:226




  1   Education”). (Id. ¶ 66.) Experian repeated this process and furnished Lend Tech
  2   with consumers’ student loan information on multiple occasions. (Id. ¶ 58.)
  3            Shortly thereafter, Lend Tech sold information contained in Plaintiff’s
  4   consumer report to UDS. (Compl. ¶ 31.) UDS utilized this information to target, via
  5   mailings, Plaintiff and the alleged class members for the purpose of soliciting them
  6   to purchase its “fee-based application assistance” service. (Id. ¶ 32.) That is, for a
  7   substantial fee, UDS offers to complete documents on behalf of consumers to
  8   consolidate their federal student loans—paperwork that can be easily completed for
  9   free via the Dept. of Education. (Id. ¶ 32.) UDS does not offer consumers any form
 10   of credit at all. (Id. ¶ 88.) The Dept. of Education even warns consumers not to fall
 11   prey the deceptive practices of companies like UDS. (Id. ¶¶ 32, 89.) Regardless,
 12   UDS utilized Plaintiff’s personal information that it obtained from Experian (via
 13   Lend Tech) to target him. (Compl., Ex. A.) The mailer prominently featured
 14   Plaintiff’s total federal student loan debt, statements indicating that he may be
 15   eligible for consolidation of his federal student loans, and various other misleading
 16   statements. (Id.)
 17            Based on these facts, Experian’s attempt to exit this case on the pleadings
 18   fails, and the Court should deny its Motion to Dismiss.
 19   III.     Argument
 20            “To survive a motion to dismiss, a complaint must contain sufficient factual
 21   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
 22   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). “A claim has facial
 23   plausibility when the plaintiff pleads factual content that allows the court to draw
 24   the reasonable inference that the defendant is liable for the misconduct alleged.” Id.
 25   “[A] complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
 26   detailed factual allegations” but requires “more than labels and conclusions, and a
 27

 28
             Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                             -6-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 12 of 26 Page ID #:227




  1   formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic
  2   Corp. v. Twombly, 550 U.S. 544, 555 (2008) (citations omitted).
  3          As set forth below, Plaintiff has stated plausible claims under the FCRA, and
  4   Experian’s Motion to Dismiss should be denied.
  5          A.       Experian first plausibly violated the FCRA by furnishing
  6                   consumer reports about Plaintiff and others based solely on Lend
  7                   Tech’s certification that it would use the information to extend
  8                   firm offers of credit.
  9          Experian launches three main attacks on count one. First, Experian contends
 10   that it did not violation Section 1681b because it relied on Lend Tech’s
 11   representation that the information would be used to extend firm offers of credit.
 12   (Def. Mot. at 5-7.) Second, Experian claims that Plaintiff hasn’t alleged that
 13   Experian failed to maintain reasonable procedures under Section 1681e(a). (Def.
 14   Mot. at 7-9.) And third, Experian claims that even if it violated the FCRA, the
 15   allegations don’t rise to the level of a willful violation.
 16          Fortunately for the Plaintiff and other consumers who had their personal
 17   information wrongfully disclosed, the FCRA is not so toothless. Rather, and as
 18   explained below, Experian is plausibly liable because reasonable grounds existed to
 19   suggest the reports would be used impermissibly and because Experian failed to
 20   implement reasonable procedures.
 21                   1.      Experian has liability under the FCRA for relying solely on
 22                           Lend Tech’s representation that it had a permissible
 23                           purpose to obtain the report.
 24          Experian’s central attack on Count I is that it, Experian, had “reason to
 25   believe” that Lend Tech possessed a permissible purpose based solely on Lend
 26   Tech’s certification (Def. Mot. at 6-7). This argument fails. Experian ignores on
 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                           -7-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 13 of 26 Page ID #:228




  1   point Ninth Circuit precedent and misunderstands the factual allegations of the
  2   Complaint.
  3         In reality, Experian cannot rely on Lend Tech’s blanket certification that the
  4   reports would be used to extend firm offers of credit. Indeed, the Ninth Circuit has
  5   explained that “Section 1681e requires more from a credit reporting agency than
  6   merely obtaining a subscriber’s general promise to obey the law.” Pintos v. Pacific
  7   Creditors Ass’n., 605 F.3d 665, 677 (9th Cir. 2010). After obtaining a customer’s
  8   certification of a permissible purpose, “the reporting agency must make ‘a
  9   reasonable effort’ to verify the certifications and may not furnish reports if
 10   ‘reasonable grounds’ exist to believe that reports will be used impermissibly.” Id.
 11   (citing 15 U.S.C. § 1681e(a)). Under Section 1681e(a), “a subscriber’s certification
 12   cannot absolve the reporting agency of its independent obligation to verify the
 13   certification and determine that no reasonable grounds exist for suspecting
 14   impermissible use.” Id. (emphasis added).
 15         In light of this authority, Experian cannot rely solely on Lend Tech’s
 16   representation that it would use the reports for the permissible purpose of making
 17   firm offers of credit. As set forth in the Complaint, Experian was required to do
 18   more, including verifying Lend Tech’s identity and purpose, to determine whether
 19   ‘reasonable grounds’ existed to believe the reports would be used improperly.
 20   (Compl. ¶ 46.) Because Experian wasn’t allowed to simply accept Lend Tech’s
 21   certification at face value, Plaintiff’s acknowledgement that Experian relied on
 22   Lend Tech’s representation does nothing to obviate Experian’s duty to
 23   independently investigate. Put simply, Experian’s suggestion that Plaintiff has
 24   somehow conceded that Experian had a reasonable basis to believe the report would
 25   be used for a permissible purpose because Plaintiff admits that Experian “furnished
 26   Plaintiff’s consumer report based on Lend Tech’s ‘representation that it intended to
 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          -8-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 14 of 26 Page ID #:229




  1   use the report for the purpose of a firm offer of credit’” (Def. Mot. at 6) goes
  2   nowhere. Yes, Lend Tech provided a permissible purpose; no, Experian wasn’t
  3   allowed to rely solely on that representation to formulate a reasonable belief as to
  4   whether the reports would be used only for permissible purposes. For that Experian
  5   was required to implement reasonable procedures that included performing a
  6   reasonable investigation into Lend Tech’s identity and stated purpose.
  7                  2.      Experian also violated the FCRA by failing to implement
  8                          reasonable procedures designed to ensure that it only
  9                          discloses reports for permissible purposes.
 10         As indicated above, under Section 1681e(a), “a subscriber’s certification
 11   cannot absolve the reporting agency of its independent obligation to verify the
 12   certification and determine that no reasonable grounds exist for suspecting
 13   impermissible use.” Id. (emphasis added). In 2011, the Federal Trade Commission
 14   (“FTC”) issued a staff report, to assist businesses with FCRA compliance. See 40
 15   Years of Experience with the Fair Credit Reporting Act.1 The report recognizes that
 16   adequate verification procedures require more than simply taking the requestor’s
 17   word for it:
 18         Appropriate procedures might require an on-site visit to the user’s
 19         place of business, a check of the user’s references, confirmation of the
 20         business identity of the applicant (e.g., via phone directories or
 21         publicly available data such as governmental licensing information),
 22         and examining applications and supporting documentation supplied
 23         by applicants, or other reasonable methods, to detect suspect
 24         representations, discrepancies, illogical information, suspicious
 25
      1
        https://www.ftc.gov/sites/default/files/documents/reports/40-years-experience-
 26
      fair-credit-reporting-act-ftc-staff-report-summary-
 27   interpretations/110720fcrareport.pdf
 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          -9-
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 15 of 26 Page ID #:230




  1         patterns, factual anomalies, and other indicia of unreliability.
  2   See FTC Report at pg. 65 (emphasis added).2 Other facts may bear on reliability as
  3   well: for example, a business that lacks a proper license to engage in its purposed
  4   business should prompt a CRA to conduct further investigation. See Aleksic v.
  5   Experian Information Solutions, Inc., No. 13 C 7802, 2014 WL 2769122, at *2
  6   (N.D. Ill. June 18, 2014) (“[P]laintiffs now allege that Clarity knew the lenders
  7   were unlicensed and under investigation, which if true, required Clarity to take
  8   additional steps to determine whether the lenders would use the data for permissible
  9   purposes.”). Likewise, where a business that requests reports for a purpose in line
 10   with its actual business purpose is suggestive of a permissible purpose, see Wilson
 11   v. Sessoms, Civil No. 4:96CV01031, 1998 WL 35305548, at *4 (M.D.N.C. Mar. 16,
 12   1998) (finding a reason to believe a permissible purpose existed because “Street &
 13   Co.'s primary business was skip-tracing, which is generally a permissible purpose
 14   under the FCRA.”); see also Harris v. Database Management & Marketing, Inc.,
 15   609 F.Supp.2d 509, 515 (D. Md. 2009) (reasonable belief where Defendant engaged
 16   in a business that is a permissible purpose), the opposite is true where the requestor
 17   doesn’t engage in such commerce.
 18         In this case, the allegations show that Experian’s procedures are plausibly
 19   unreasonable. Abbink specifically alleges that Experian performed no adequate
 20   investigation and that it simply accepted Lend Tech’s certification at face value.
 21   (Compl. 29, 30.) Further, Lend Tech lacks a license to conduct mortgage lending
 22   (its claimed business purpose) in the State of California. Indeed, Lend Tech doesn’t
 23   offer consumers any form of credit or insurance at all. (Compl. ¶ 28.) Experian also
 24   accepted Lend Tech’s incorrect address (which was more than a year old) and a
 25
      2
        https://www.ftc.gov/sites/default/files/documents/reports/40-years-experience-
 26
      fair-credit-reporting-act-ftc-staff-report-summary-
 27   interpretations/110720fcrareport.pdf
 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 10 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 16 of 26 Page ID #:231




  1   nonworking telephone number, and printed both pieces of information on Plaintiff’s
  2   consumer report on January 21, 2019.3 In sum, Plaintiff’s allegations regarding
  3   Experian’s failure to verify Lend Tech’s identity and purported purpose
  4   demonstrates a plausible failure to maintain reasonable procedures.
  5         Experian claims that Lend Tech’s lack of proper license is “no red flag at all”
  6   because “it is Lend Tech’s designated broker who would have been listed under the
  7   NMLS and California license system, not Lend Tech.” (Def. Mot. at 8.) Experian
  8   confuses the burden for compliance with the requirement to obtain a license. See
  9   Holley v. Crank, 400 F.3d 667, 672 (9th Cir. 2005) (emphasis added) (“The
 10   designated officer/broker, not the corporate entity itself, is charged with the
 11   responsibility to assure corporate compliance with the real estate law.”). While it is
 12   true that in California the burden of corporate compliance is placed on the
 13   designated broker and not the corporation, a corporate license isn’t simply optional.
 14   Rather, in the State of California, “[i]t is unlawful for any person to engage in the
 15   business, act in the capacity of, advertise or assume to act as a real estate broker or a
 16   real estate salesman within the state without first obtaining a real estate license from
 17   the department.” Cal. Bus. & Prof. Code § 10130. Notably, the term “person”
 18   “includes corporation, company and firm.” Cal. Bus. & Prof. Code § 10006. Hence,
 19   “[i]n California both corporations and individuals are required to be licensed to
 20   operate as real estate brokers.” Rose v. Seamless Financial Corp. Inc., 916
 21   F.Supp.2d 1160, 1166 (S.D. Cal. 2013) (emphasis added). Had Lend Tech gone
 22   beyond the four corners of Lend Tech’s certification and performed any reasonable
 23   investigation, it would have readily discovered such facts. That it failed to do so in
 24
      3
 25     It should be pointed out that the only information a consumer will ever get to
      identify the entities that access their reports are: (1) the entities name, (2) the
 26
      address, and (3) a telephone number. Here, Experian included false information for
 27   two of the three.
 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 11 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 17 of 26 Page ID #:232




  1   the face of such red flags permits the reasonable inference that Experian plausibly
  2   failed to implement reasonable procedures designed to ensure that reports are only
  3   disclosed for permissible purposes.
  4         Experian also argues that Plaintiff doesn’t allege that it, Experian, failed
  5   initially to verify Lend Tech’s information and that consumer reporting agencies
  6   aren’t required to verify every request. (Def. Mot. at 9.) However, it would
  7   undermine the purpose of Section 1681e, for Experian to merely have to verify the
  8   identity of Lend Tech’s once and have no follow-up verification for the contact
  9   information, which, again, is the only information a consumer will ever get to see.
 10   Here, Lend Tech’s address was over a year old and the telephone number was not
 11   working at the time the information was published to Plaintiff’s consumer report.
 12   Moreover, had Experian bothered to check, it would have been aware of such
 13   deficiencies, which would warrant additional investigation. In short, this too is
 14   problematic and further underscores the failure of Experian to implement adequate
 15   procedures.
 16         Ultimately, “[t]he reasonableness of the procedures and whether the agency
 17   followed them will be jury questions in the overwhelming majority of cases.”
 18   Pasternak v. Trans Union LLC, No. C 07-04980 CW, No. C 08-02972 CW, 2008
 19   WL 11388680, at *7 (N.D. Cal. Dec. 19, 2008) (citing Guimond v. Trans Union
 20   Credit Information Co., 45 F.3d 1329, 1333 (9th Cir. 1995)); see also Dalton v.
 21   Capital Associated Industries, Inc., 257 F.3d 409, 416 (4th Cir. 2001) (citations
 22   omitted) (“The issue of whether the agency failed to follow “reasonable
 23   procedures” will be a “jury question[ ] in the overwhelming majority of cases.”).
 24         As such, because the allegations demonstrate a plausible claim that Experian
 25   failed to maintain reasonable procedures and lacked a reasonable belief for
 26   providing Plaintiff’s consumer report to Lend Tech, the Court should deny
 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 12 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 18 of 26 Page ID #:233




  1   Experian’s motion to dismiss.
  2                     3.      Experian also acted willfully and with reckless disregard to
  3                             its statutory duty.
  4            Experian next asserts that even if Plaintiff has alleged a violation of the Act,
  5   no willfulness has been plead because the Complaint doesn’t include “factual
  6   allegations concerning Experian’s state of mind or its knowledge that Lend Tech
  7   was not using the prescreen reports for their intended purpose.” (Def. Mot. at 10-
  8   11.)
  9            Experian’s argument ignores the allegations of the Complaint. A “reckless
 10   disregard of a requirement of FCRA would qualify as a willful violation.” Safeco
 11   Ins. Co. of America v. Burr, 551 U.S. 47, 71 (2007). As Defendant concedes, a
 12   company acts in reckless disregard if it takes an action or interprets a statute in a
 13   manner that is both “objectively unreasonable” and “ran a risk of violating the law
 14   substantially greater than the risk associated with a reading that was merely
 15   careless.” Id. at 69. At the motion to dismiss stage, “courts have found assertions
 16   that a defendant repeatedly violated the FCRA sufficient to allege reckless—and,
 17   therefore, willful—misconduct.” Singleton v. Domino’s Pizza, LLC, Civil Action
 18   No. DKC 11-1823, 2012 WL 245965, at *4 (D. Md. Jan. 25, 2012) (collecting
 19   cases). Additionally, allegations that a defendant was aware of the FCRA’s
 20   requirements but failed to comply with the requirements were also sufficient to state
 21   a claim. See id. (“[A]assertions that a defendant was aware of the FCRA, but failed
 22   to comply with its requirements, are sufficient to support an allegation of
 23   willfulness and to avoid dismissal.”); see also Robrinzine v. Big Lots Stores, Inc.,
 24   156 F.Supp.3d 920, 929-30 (N.D. Ill. 2016) (“[T]he Complaint illustrates that Big
 25   Lots was aware of the requirement and did not adhere to it. Thus, the Complaint
 26   adequately alleges that Big Lots’s violation was willful.”).
 27

 28
             Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                            - 13 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 19 of 26 Page ID #:234




  1         Abbink sufficiently alleges a plausible claim that Experian willfully violated
  2   the FCRA by taking Lend Tech’s verification at face value. Experian is a large
  3   corporation that regularly engaged counsel in matters such as FCRA compliance.
  4   (Compl. ¶ 59) and failing to go beyond Lend Tech’s verification was objectively
  5   unreasonable. A substantial portion of Experian’s income comes from selling the
  6   consumers data to its clients. (Id. ¶ 5.) As one of the largest CRAs, Experian cannot
  7   dispute that it was aware of its duties under the FCRA and that it acted in reckless
  8   disregard of them when it took Lend Tech’s representation at face value. (Id. ¶¶ 5,
  9   59.) Indeed, as explained above Plaintiff has alleged that Experian’s conduct
 10   violated Sections 1681b and 1681e by furnishing consumer reports to Lend Tech on
 11   a repeated basis. (Id. ¶¶ 7-9, 29, 58.) Experian’s repeated violations have a
 12   widespread, pervasive impact on consumers’ privacy. (Id. ¶ 59.) In short, by
 13   providing consumer reports to Lend Tech absent any permissible purpose and by
 14   failing to implement reasonable procedures, Experian acted in reckless disregard of
 15   its FCRA duties.
 16         In setting out this argument, Experian ignores that “[m]alice, intent,
 17   knowledge, and other conditions of a person’s mind may be alleged generally.” Fed.
 18   R. Civ. P. 9(b). Further, and as with the other issues presented by this claim,
 19   “[w]illfulness under the FCRA is generally a question of fact for the jury.” Edwards
 20   v. Toys “R” Us, 527 F.Supp.2d 1197, 1210 (C.D. Cal. 2007). As such, willfulness
 21   shouldn’t be decided on the pleadings; rather, Plaintiff’s allegations state a plausible
 22   claim that Experian willfully violated the FCRA and discovery should be
 23   exchanged on this issue.
 24
            B.       Plaintiff’s allegations that Experian disclosed his federal student
 25
                     loan debt also plausibly state a claim for a willful violation of
 26
                     Section 1681b(c)(2).
 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 14 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 20 of 26 Page ID #:235




  1         With respect to Abbink’s second claim, Experian argues that its disclosure of
  2   Plaintiff’s total federal student loan debt complied with Section 1681b(c)(2)
  3   because he does not have a “direct credit relationship” with the Department of
  4   Education. (Def. Mot. at 12.) In Experian’s view, Plaintiff needs to allege that
  5   Experian disclosed his relationship with a specific loan servicer. (Def. Mot. at 12-
  6   13.) Alternatively, Experian claims that any violation of § 1681b(c)(2) wasn’t
  7   willful. (Def. Mot. at 13.) Both of these arguments fail.
  8                  1.      Experian violated the FCRA’s bar against identifying the
  9                          relationship of a consumer to a creditor or other entity.
 10         Experian speculates that disclosing Plaintiff’s total outstanding federal
 11   student loan debt—which is guaranteed by the Dept. of Education—does not
 12   identify his relationship with respect to a particular creditor or other entity because
 13   “a consumer does not have a direct credit relationship with the [Dept. of
 14   Education].” (Def. Mot. 12.) Experian asserts that to violate the FCRA the
 15   disclosure would have needed to have identified Plaintiff’s specific servicer of his
 16   federal student loans. (Def. Mot. at 12-13.)
 17         Section 1681b(c)(2) does not delineate between different types of
 18   relationships, however. See In re Trans Union Corp. Privacy Litigation, 211 F.R.D.
 19   328, 336 (N.D. Ill. 2002) (this provision “limits the information that a consumer
 20   reporting agency may disclose” about consumers). Rather, Section 1681b(c)(2)
 21   limits what information can be provided in the context of prescreened offers of
 22   credit. That information includes only: “(A) the name and address of a consumer;
 23   (B) an identifier that is not unique to the consumer and that is used by the person
 24   solely for the purpose of verifying the identity of the consumer; and (C) other
 25   information pertaining to a consumer that does not identify the relationship or
 26   experience of the consumer with respect to a particular creditor or other entity.” 15
 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 15 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 21 of 26 Page ID #:236




  1   U.S.C. § 1681b(c)(2) (emphasis added).
  2         Borrowers with federal student loan debt certainly have a relationship with
  3   the Dept. of Education. For one, the “Department of Education is the exclusive
  4   administrator of repayment and debt relief plans available to federal student loan
  5   borrowers.” Federal Trade Commission v. Alliance Document Preparation, 296
  6   F.Supp.3d 1197, 1204 (C.D. Cal. 2017). While it is true, as Experian states, that
  7   loan servicers handle billing and other services associated with repayment, the
  8   servicers are limited to approving borrowers with eligibility and enrollment in
  9   repayment and debt relief plans that are created by Dept. of Education. See id.
 10   (“loan servicers approved by the Department of Education are permitted to
 11   determine eligibility or approve borrowers for enrollment in payment plans or other
 12   federal student loan programs.”). Furthermore, the Dept. of Education ultimately
 13   guarantees all federal student loans. See Pennsylvania v. Navient Corporation, 354
 14   F.Supp.3d 529, 535 (M.D. Pa. 2018) (“Unlike federal student loans, private student
 15   loans are not guaranteed by the government and are issued ‘based on the lender’s
 16   assessment of the borrower’s creditworthiness/likelihood of repaying the loan.’”).
 17         Experian’s disclosure of Plaintiff’s total federal student loans debt identifies
 18   his “relationship or experience” with respect to the Dept. of Education. Based upon
 19   Experian’s disclosure, Lend Tech now has knowledge of: (1) who ultimately
 20   guarantees Plaintiff’s debt (the Dept. of Education); (2) that Plaintiff must repay his
 21   student loans based upon the repayment plans that the Dept. of Education offers to
 22   borrowers; and (3) the potential debt relief plans that are available to Plaintiff. This
 23   is far more information than Congress intended a creditor to be able to obtain for
 24   the purposes of extending a prescreened offer of credit. And predictably, as a result
 25   of Experian’s over-disclosure, Plaintiff was targeted by UDS using this exact
 26   information. Accordingly, Experian’s disclosure of Plaintiff’s federal student loan
 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 16 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 22 of 26 Page ID #:237




  1   debt identified his relationship and experience to the Dept. of Education in violation
  2   of Section 1681b(c)(2).
  3          Experian’s suggestion that it would have had to disclose a “direct credit
  4   relationship” to violate the provision, including a “particular servicer of his student
  5   loans,” reads into the FCRA a requirement that simply doesn’t exist. (Def. Mot. at
  6   13.) Nothing in Section 1681b(c)(2) can be construed as requiring the disclosure to
  7   identify a direct creditor. Nor does it require the disclosure to be a creditor at all.
  8   The Act broadly limits the disclosure of any information that identifies the
  9   relationship or experience to a particular creditor “or other entity.” See 15 U.S.C. §
 10   1681b(c)(2) (Emphasis added). And in any case, the Dept. of Education could be
 11   considered a creditor. See In re Halling, 449 B.R. 911, 914-15 (W.D. Wis. 2011)
 12   (“guarantors are normally “creditors” within the meaning of the bankruptcy code.”)
 13   Experian’s “direct credit relationship” argument goes nowhere, and this Court
 14   should deny its Motion to Dismiss on such grounds.
 15          In sum, the Court should find that the allegations state a plausible claim for a
 16   violation of Section 1681b(c)(2).
 17                   2.      Experian acted in reckless disregard of its duties under
 18                           Section 1681b(c)(2).
 19          Experian also argues here that even if it did violate Section 1681b(c)(2), it
 20   did not do so willfully because its reading of the statute was not objectively
 21   unreasonable. (Def. Mot. at 13.) Experian relies exclusively on the absence of case
 22   law and regulatory guidance (id. at 13-14) ignoring the plain language of the statute.
 23          Again, a defendant that acts with reckless disregard for its statutory
 24   obligations under the FCRA qualifies as a willful violation. Safeco Ins. Co. of
 25   America v. Burr, 551 U.S. 47, 71 (2007). A reckless disregard occurs when a
 26   company takes a reading of the Act that is both unreasonable and “ran a risk of
 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          - 17 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 23 of 26 Page ID #:238




  1   violating the law substantially greater than the risk associated with a reading that
  2   was merely careless.” Id. at 69. Critically, “[a] lack of ‘guidance,’ . . . does not itself
  3   render [defendant’s] interpretation reasonable.” Syed v. M-I, LLC, 853 F.3d 492
  4   (9th Cir. 2017). Indeed, a “credit agency whose conduct is first examined under that
  5   section of the Act should not receive a pass because the issue has never been
  6   decided.” Cortez v. Trans Union, LLC, 617 F.3d 688, 722 (3d Cir. 2010). At the
  7   motion to dismiss stage, “assertions that a defendant was aware of the FCRA, but
  8   failed to comply with its requirements, are sufficient to support an allegation of
  9   willfulness and to avoid dismissal.” Singleton, Civil Action No. DKC 11-1823,
 10   2012 WL 245965, at *4 (D. Md. Jan. 25, 2012) (collecting cases). And again,
 11   “[w]hether Defendant’s conduct was actually willful is a question better left to a
 12   motion for summary judgment, where the record will be more fully developed.”
 13   Feist v. Petco Animal Supplies, Inc., 218 F.Supp.3d 1112, 1115 (S.D. Cal. 2016).
 14          Plaintiff sufficiently alleges a willful violation of Section 1681b(c)(2) based
 15   on Experian’s disclosure of his federal student loan debt. Section 1681b(c)(2) of the
 16   FCRA is clear on its face and not open multiple interpretations. The disclosure of
 17   federal student loan debt runs afoul of Section 1681b(c)(2), and Experian is large
 18   enough that it should have known that its interpretation of the FCRA ran a
 19   substantial risk of noncompliance. (Compl. ¶¶ 5, 68.) Further, by repeatedly
 20   furnishing consumers’ total federal student loan debts to Lend Tech, Experian’s
 21   actions had a wide spread impact. Accordingly, the allegations sufficiently set forth
 22   a willful violation of Section 1681b(c)(2).
 23          Defendant’s counter argument that Plaintiff’s reading of the statute would
 24   eviscerate prescreens in the context of student loans (Def. Mot. at 14) borders on
 25   the specious. Experian ignores the existence of private student loans, which are
 26   funded by banks and not the government. See In re Edwards, 561 B.R. 848, n.9 (D.
 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          - 18 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 24 of 26 Page ID #:239




  1   Kan. 2016) (quotations omitted) (“Private student loans are funded by banks, not
  2   the government, and banks are not required to offer the same alternatives to
  3   struggling borrowers as federal loan servicers.”). Had Experian disclosed
  4   consumers total student loan debt—regardless of whether or not it was federally
  5   held or privately held—it would have easily avoided identifying the relationship of
  6   a consumer to a creditor or other entity. Indeed, lenders would still be able to offer
  7   consumers the opportunity to consolidate their student loans while not knowing
  8   whether private entities or the federal government holds the debt.
  9          Because Plaintiff sufficiently pleads a willful violation of the FCRA’s
 10   provision limiting the disclosure of prescreened credit information, the Court should
 11   deny Experian’s Motion to Dismiss.
 12          C.       To the extent the Court determines that Plaintiff failed to allege
 13                   adequate facts, the Court should grant Plaintiff leave to amend.
 14          “[L]eave to amend “shall be freely given when justice so requires,”
 15   Fed.R.Civ.P. 15(a), and this policy is to be applied with extreme liberality.”
 16   Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
 17   “Dismissal with prejudice and without leave to amend is not appropriate unless it is
 18   clear on de novo review that the complaint could not be saved by amendment.”
 19   Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1-52 (9th Cir. 2003). To the
 20   extent the Court determines that Plaintiff’s allegations fail to state a claim, Plaintiff
 21   respectfully requests leave to amend to cure any defects.
 22   V.     Conclusion
 23          Experian’s motion to dismiss should be denied. Plaintiff’s allegations that
 24   Experian failed to implement reasonable procedures and unlawfully sold Plaintiff’s
 25   consumer report to Lend Tech sufficiently states a plausible claim for a willful
 26   violation of the FCRA. Likewise, the allegations regarding Experian’s disclosure of
 27

 28
           Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                          - 19 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 25 of 26 Page ID #:240




  1   Plaintiff’s federal student loan debt states a claim for a violation of the FCRA’s
  2   prohibition against disclosing a consumer’s relationship and experience with a
  3   particular creditor or other entity. In summary, the key question is whether Plaintiff
  4   has alleged sufficient facts to plausibly suggest there were reasonable grounds for
  5   Experian to think there wasn’t a permissible purpose. Plaintiff has done so here. For
  6   these reasons, the Court should deny Experian’s motion to dismiss.
  7

  8                                                     Respectfully submitted,
  9

 10
      Dated: August 26, 2019                            Bryce Abbink, individually and on behalf of
                                                        all others similarly situated,
 11

 12                                            By:       /s/ Taylor T. Smith
                                                        One of Plaintiff’s Attorneys
 13

 14                                                     Aaron D. Aftergood (239853)
                                                          aaron@aftergoodesq.com
 15                                                     THE AFTERGOOD LAW FIRM
                                                        1880 Century Park East, Suite 200
 16                                                     Los Angeles, CA 90067
                                                        Telephone: (310) 550-5221
 17                                                     Facsimile: (310) 496-2840

 18                                                     Taylor T. Smith (admitted pro hac vice)
                                                          tsmith@woodrowpeluso.com
 19                                                     WOODROW & PELUSO, LLC
                                                        3900 East Mexico Avenue, Suite 300
 20                                                     Denver, Colorado 80210
                                                        Telephone: (720) 213-0675
 21                                                     Facsimile: (303) 927-0809

 22                                                     Attorneys for Plaintiff and the Classes

 23

 24

 25
 26

 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 20 -
Case 8:19-cv-01257-JFW-PJW Document 34 Filed 08/26/19 Page 26 of 26 Page ID #:241




  1                                  CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on August 26, 2019.
  5                                                     /s/ Taylor T. Smith
  6

  7

  8
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25
 26

 27

 28
          Opposition to Defendant Experian Information Solutions, Inc.’s Motion to Dismiss Plaintiff’s Complaint
                                                         - 21 -
